Case 2:05-cr-20106-.]PI\/| Document 20 Filed 07/22/05 Page 1 of 2 Page|D 24

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

 

UNITED STATES OF AMERICA

VS.

No. 05-20106
RICHARD SANFORD,

Defendant.

 

ORDER ON SUBSTITION OF COUNSEL

 

Before this Honorable Court is Defendant’s request to allow his present counsel,
Bill Anderson, Attorney at Law to be relieved in this cause and for J ake Erwin, Attorney
at Law, to be allowed to enroll as Attorney of Record. lt appearing to this Court that
counsel’s Motion is well taken;

IT IS THEREFORE, ORDERED, ADJUDGED AND DECREED that Mr. Bill
Anderson is hereby relieved of any further responsibilities in this cause and that Mr. J ake

Erwin is allowed to appear in this cause.

Entered this the __ZL day of w , 2005.

midst

ely/d states District court Judge
e Honorable J on Phipps McCalla

 

Approved:

Bill Anderson ey at Law

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This notice confirms a copy of the document docketed as number 20 in
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Honorable .1 on McCalla
US DISTRICT COURT

